    Case 07-20369-wsh UNITED
                       Doc 9 STATES
                              Filed 03/26/07   Entered
                                       BANKRUPTCY       03/26/07 15:33:17
                                                     COURT                  Desc Main
                              Document       Page 1
                       EASTERN DISTRICT OF KENTUCKY of 1
                           COVINGTON DIVISION



 IN RE: CHARLIE D COLEMIRE



 DEBTOR(S)                                              CASE NO. 07-20369

                                   _________
                                   TRUSTEE'S
                               _________________
                               MOTION TO DISMISS


                               NOTICE OF HEARING
                               _________________

     Notice is hereby given that this Motion to Dismiss will
be brought on for hearing in the U.S. Bankruptcy Courtroom,
U.S. Courthouse, 3rd Floor, Rm. 306, 35 W. 5th St., Covington, KY, at
10:00 AM, on April 10, 2007    .

     If the Debtor fails to appear, the Court may submit an order
dismissing the Chapter 13 case. Non-attendance at the hearing can
only be excused by the Trustee's written
                                  _______ withdrawal of the motion.

                           CERTIFICATE OF SERVICE
                           ______________________

     I hereby certify that this Motion to Dismiss was served upon the
persons named below either electronically or by mail to the addresses
indicated on March 23, 2007    .

                                    ______
                                    MOTION

     The Trustee moves the Court to dismiss this case on the following
grounds:

     The debtor's unsecured debt exceeds the maximum
       allowable limit.


Copies to:

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                                                       4 W. FOURTH ST, #200
AUGUSTA KY 41002                                        NEWPORT KY 41071


/s/ Beverly M. Burden
_____________________________________
Beverly M. Burden, Chapter 13 Trustee
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